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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


National Association of Government Employees, Inc.

                Plaintiff

       v.                                                Civil Action No. 23-11001-RGS

Janet Yellen, in her official capacity as Secretary of Treasury,
and Joseph Biden, in his official capacity as President of
the United States

                Defendants

                                 ORDER OF DISMISSAL

                                     October 18, 2023

STEARNS, D.J.

       In accordance with the court’s Memorandum and Order [Dkt # 58] entered on

October 18, 2023, granting defendants’ motion to dismiss, it is ORDERED that the

above-entitled action be, and hereby is, dismissed.



                                                                   By the court,

                                                                   /s/ Arnold Pacho
                                                                   Deputy Clerk
